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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                                Plaintiff,                           ORDER
   v.
                                                           Case No. 20-cr-137-wmc-0l
MICHAEL EISENGA,

                                Defendant.


        IT IS ORDERED that Michael Eisenga, the defendant in the above-entitled case,

having been sentenced to the custody of the Bureau of Prisons, is hereby ordered to surrender

to the Bureau of Prisons by reporting to Thomson SCP, 1100 One Mile Road, Thomson,

Illinois, 61285 on August 31, 2021 between 12:00 and 2:00 PM.

        IT IS FURTHER ORDERED that the Bureau of Prisons or its authorized

representative is designated as an officer of the court for the purpose of receiving the

defendant to begin commencement of his sentence.

        IT IS FURTHER ORDERED that a certified copy of this order be mailed to the

defendant by certified mail.



               Entered this    ~t'h day of July, 2021.
